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    1   LATHAM & WATKINS LLP
         Alfred C. Pfeiffer (CA 120965)
    2    Christopher S. Yates (CA 161273)
         Belinda S Lee (CA 199635)
    3    Niall E. Lynch (CA 157959)
         Ashley M. Bauer (CA 231626)
    4   505 Montgomery Street, Suite 2000
        San Francisco, California 94111-6538
    5   Telephone: +1.415.391.0600
        Facsimile: +1.415.395.8095
    6   Al.Pfeiffer@lw.com
        Chris.Yates@lw.com
    7   Belinda.Lee@lw.com
        Niall.Lynch@lw.com
    8   Ashley.Bauer@lw.com
    9   Counsel for Defendants StarKist Co.
        and Dongwon Industries Co., Ltd.
   10
        (Additional Counsel Listed on Signature Pages)
   11
                                 UNITED STATES DISTRICT COURT
   12
                              SOUTHERN DISTRICT OF CALIFORNIA
   13
   14
            IN RE: PACKAGED SEAFOOD                       Case No. 3:15-md-2670-JLS-MDD
   15       PRODUCTS ANTITRUST
            LITIGATION                                    MDL No. 2670
   16
                                                          JOINT MOTION FOR
   17                                                     DETERMINATION OF
                                                          DISCOVERY DISPUTE
   18
            This Document Relates to:                     Judge: Hon. Mitchell D. Dembin
   19                                                     CTRM: 1E
            ALL ACTIONS
   20
   21                                                         [REDACTED VERSION]
   22
                 Pursuant to Civil Local Rule 26.1 and §IV of the Honorable Magistrate Judge
   23
        Mitchell D. Dembin’s Chambers Rules for Civil Pretrial Procedures, Plaintiffs1 and
   24
        Defendants StarKist Co. (“StarKist”) and Dongwon Industries Co., Ltd. (“Dongwon
   25
        Industries”—the parent company of StarKist) file the following Joint Motion for
   26
   27
        1
   28       “Plaintiffs” as used here refers to all tracks of plaintiffs.
        JOINT MOTION FOR DISCOVERY DETERMINATION                    CASE NO. 15-MD-2670-JLS (MDD)
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    1   I.       PLAINTIFFS’ POINTS & AUTHORITIES
    2            The Court has found that Plaintiffs alleged plausible claims against Dongwon
    3   for its participation in the alleged conspiracy. See ECF No. 492. Plaintiffs have
    4   since deposed Dongwon’s vice-chairman, Ingu Park, as well as Andrew Choe, a key
    5   Dongwon liaison who later became StarKist’s CEO, and a StarKist Rule 30(b)(6)
    6   deponent on topics relating to the relationship between StarKist and Dongwon.
    7   They have served a Rule 30(b)(6) notice to Dongwon and the one individual listed
    8   on Dongwon’s Initial Disclosures—and the dates of those depositions are being
    9   negotiated, as the end of fact discovery draws near. Plaintiffs have also carefully
   10   reviewed the more than 10,000 pages of responsive documents Dongwon produced
   11   from Mr. Kim’s files, as well as documents StarKist and other Defendants produced
   12   about Mr. Kim. Those documents, and the discovery taken to date, make clear that
   13   Mr. Kim has personal knowledge of facts relevant to this antitrust case. There is no
   14   valid reason to excuse him from providing testimony.
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            All exhibits referenced in Plaintiffs’ section are included in the Stein Declaration.
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        JOINT MOTION FOR DISCOVERY DETERMINATION                  CASE NO. 15-MD-2670-JLS (MDD)
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          Dongwon suggests that evidence prior to 2011 is irrelevant because the Class
   23   Plaintiffs have limited their damages period for class certification purposes starting
   24   in 2011. This argument is specious. First, the Class Plaintiffs assert that the
        conspiracy was implemented by at least late 2010, around the time of this very
   25   meeting between Mr. Kim and Mr. Lindberg. Significantly, the Department of
   26   Justice also asserts that Mr. Lischewski began participating in the conspiracy in
        November 2010, according to his Indictment. Second, the Direct Action Plaintiffs
   27   still assert claims dating back to 2004.
   28
        JOINT MOTION FOR DISCOVERY DETERMINATION               CASE NO. 15-MD-2670-JLS (MDD)
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   19         Dongwon resists Mr. Kim’s deposition on the ground it an “apex” deposition.
   20   But where Plaintiffs have a good faith basis to believe that the apex deponent is
   21   likely to have relevant knowledge, courts have permitted such depositions. See, e.g.,
   22
   23   5
         Dongwon argues that Plaintiffs have all they need about this meeting because
   24   another deponent – who did not attend the meeting – testified that the meeting
        minutes are accurate. This contention is absurd. Plaintiffs cannot assume the
   25   minutes are complete; it would be the rare event in this era that co-conspirators write
   26   out their plans to reduce competition. Mr. Kim is the only person with firsthand
        knowledge about whether this meeting with Bumble Bee’s owner resulted in
   27   Dongwon’s agreement or understanding regarding the conspiracy’s operation.
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        JOINT MOTION FOR DISCOVERY DETERMINATION              CASE NO. 15-MD-2670-JLS (MDD)
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    1   Moyle v. Liberty Mut. Ret. Ben. Plan, No. 10CV2179-DMS MDD, 2012 WL
    2   5373421 (S.D. Cal. Oct. 30, 2012); see also In re Transpacific Passenger Air
    3   Transp. Antitrust Litig. (Transpacific), No. C-07-05634 CRB (DMR), 2014 WL
    4   939287, at *4 (N.D. Cal. Mar. 6, 2014) (apex “may have attended [a conspiracy]
    5   meeting and thus may have information about the fuel surcharge discussions”;
    6   further noting that the party seeking the deposition “was not required to prove that
    7   [the proposed deponent] certainly has such information; [the party] cannot be certain
    8   that he does or does not until it has taken his deposition.”) (citation omitted).
    9         While “[t]he party seeking to take such a deposition does not need to prove
   10   conclusively in advance that the deponent definitely has unique, non-repetitive
   11   information[,]” Plaintiffs have shown the Court that there is a reasonable, non-
   12   harassing6 basis for seeking discovery from Mr. Kim. See Hunt v. Cont’l Cas. Co.,
   13   No. 13-CV-05966-HSG, 2015 WL 1518067, at *2 (N.D. Cal. Apr. 3, 2015) (“where
   14   a corporate officer may have any first-hand knowledge of relevant facts, the
   15   deposition should be allowed.”). Dongwon’s self-serving assertion that Mr. Kim
   16   “lacks unique, non-repetitive knowledge of the facts” is inconsistent with the
   17   foregoing documents. It also cannot be tested if Mr. Kim is allowed to evade
   18   providing sworn testimony at a deposition.
   19         Indeed, the party opposing the deposition bears the burden to show why it
   20   should not be allowed. See id. (collecting cases). As Magistrate Judge Gallo noted:
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              [T]he burden is on Defendants to show why the depositions should
   22         not be taken, not the other way around. The burden under the apex
   23         principle is supplied by the general rule applicable to a party that seeks

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          Dongwon suggests Plaintiffs seek to harass Mr. Kim. Dongwon previously made a
   25   similar accusation when Plaintiffs asked it to search Mr. Kim’s custodial file for
   26   documents responsive to their Rule 34 Requests. After Plaintiffs told Dongwon
        they were prepared to seek the Court’s assistance, Dongwon relented and
   27   subsequently produced over 10,700 pages of documents from Mr. Kim’s files.
   28
        JOINT MOTION FOR DISCOVERY DETERMINATION                CASE NO. 15-MD-2670-JLS (MDD)
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    1         to avoid discovery in general. The apex deposition principle is not an
              automatic bar that Plaintiffs must overcome by a showing of good cause.
    2         Rather, it is a protective tool that is selectively employed on a case by
    3         case basis when deemed appropriate.

    4   In Re Nat’l W. Life Ins. Deferred Annuities Litig., No. 05-CV-1018-AJB WVG,
    5   2011 WL 1304587, at *4 (S.D. Cal. Apr. 6, 2011).
    6         Dongwon also resists the deposition on the ground that Mr. Kim is a busy
    7   executive and in his mid-80s. Neither is a valid reason to refuse to provide
    8   testimony.7 See Transpacific, 2014 WL 939287, at *3 (“a busy schedule is
    9   simply not a basis for foreclosing otherwise proper discovery”) (quotation
   10   omitted). Plaintiffs are willing to make accommodations based on these
   11   considerations—for example, they offered to conduct the deposition near Mr.
   12   Kim’s work or home in Korea, and over two or three shorter days if preferred.
   13         Finally, Dongwon suggests Mr. Kim’s deposition should be limited to
   14   two hours. The cases it cites are distinguishable in this respect. In Transpacific,
   15   the deponent was suspected of attending a key meeting and having information
   16   based on his role at the time. Id. at *4. The Court thus limited time based on
   17   the “scope” of his likely knowledge. Id. at *6. In Apple Inc. v. Samsung
   18   Electronics Co., 282 F.R.D. 259, 265 (N.D. Cal. 2012), the Court limited
   19   Samsung’s CEO’ deposition where he merely “may have engaged” in strategy
   20   changes.    Here, Mr Kim attended meetings with owners of StarKist’s
   21   competitors and worked with StarKist’s CEO (already deposed) on a variety of
   22   personnel and policy decisions (see Ex. 11), including Steve Hodge’s mid-year
   23   raise in 2012. Dongwon has not established that time limits beyond those
   24   provided for by the Rules should be imposed.
   25
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   26     Mr. Kim’s advanced age is further reason to conduct his deposition. By the time
        these cases go to trial, Mr. Kim will be unable to attend and provide testimony in
   27   person. If he is not deposed, his testimony may be permanently lost.
   28
        JOINT MOTION FOR DISCOVERY DETERMINATION                CASE NO. 15-MD-2670-JLS (MDD)
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    1   II.    STARKIST’S AND DWI’S POINTS & AUTHORITIES
    2          The Court should preclude the deposition of Mr. Jae Chul Kim because it is
    3   outside the scope of discovery permitted under both Federal Rule of Civil Procedure
    4   26 and the “apex” doctrine. First, Mr. Kim lacks “unique first-hand, non-repetitive
    5   knowledge of the facts at issue in the case.” Simmons v. Morgan Stanley Smith
    6   Barney, LLC, No. 11CV2889-WQH-MDD, 2012 WL 6725844, at *2 (S.D. Cal.
    7   Dec. 27, 2012). Second, Plaintiffs have not “exhausted other less intrusive
    8   discovery methods, such as interrogatories and depositions of lower level
    9   employees.” Id. Third, the risk of abuse or harassment outweighs Plaintiffs’
   10   interest in engaging in this unnecessary and entirely duplicative discovery.
   11          A.     Legal Standard
   12          “[D]istrict courts have broad discretion to limit discovery where the discovery
   13   sought is ‘unreasonably cumulative or duplicative, or can be obtained from some
   14   other source that is more convenient, less burdensome, or less expensive.’” Id. at *1
   15   (citing Fed. R. Civ. P. 26(b)(2)(C)). Because of the “tremendous potential for abuse
   16   or harassment” when depositions of apex executives are sought, courts apply a
   17   “stricter standard,” requiring both: (1) that the potential deponent have “unique first-
   18   hand, non-repetitive knowledge”; and (2) that the noticing party has “exhausted less
   19   intrusive means of discovery.” See Celerity, Inc. v. Ultra Clean Holding, Inc., No.
   20   05-cv-4374, 2007 WL 205067, at *3 (N.D. Cal. Jan. 25, 2007) (precluding
   21   depositions of the CEO and Chairman); Simmons, 2012 WL 6725844, at *2;
   22   Rembrandt Diagnostics, LP v. Innovacon, Inc., No.: 16-cv-0698 CAB (NLS), 2018
   23   WL 692259, at * 7 (S.D. Cal. Feb. 2, 2018) (“In order to proceed with [former
   24   Global President’s] deposition, Plaintiff must show that it has exhausted other
   25   discovery methods and that [he] has ‘unique first-hand, non-repetitive knowledge’
   26   of the facts at issue in this case.”).
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        JOINT MOTION FOR DISCOVERY DETERMINATION               CASE NO. 15-MD-2670-JLS (MDD)
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           The cases Plaintiffs cite on this point are distinguishable. In Moyle v. Liberty
   23    Mutual Retirement Benefit Plan, the court permitted the apex deposition of an
   24    executive described as the “right hand man” of the decision-makers in the
         complaint, but Mr. Kim was several levels removed from the day-to-day decision-
   25    making at StarKist, and was not anyone’s “right hand man.” No. 10CV2179-DMS
   26    MDD, 2012 WL 5373421, at *4 (S.D. Cal. Oct. 30, 2012). In Transpacific the court
         allowed the deposition of an apex executive who held a marketing and sales role
   27    overseeing the department that implemented the conduct at issue. Mr. Kim never
   28
         JOINT MOTION FOR DISCOVERY DETERMINATION           CASE NO. 15-MD-2670-JLS (MDD)
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    1                 3.    Plaintiffs Have Not Exhausted Less Burdensome
    2                       Discovery
    3          Courts generally preclude apex depositions until a party has exhausted less
    4    burdensome means of discovery, including taking written discovery and depositions
    5    of lower-level employees. See Affinity, 2011 WL 1753982, at *6. Plaintiffs have
    6    not exhausted less burdensome means of discovery; they have not deposed all of
    7    StarKist or Dongwon Industries’ document custodians or the witnesses on their
    8    initial disclosures, nor have they completed their Rule 30(b)(6) deposition of
    9    Dongwon Industries. After those depositions, Plaintiffs could serve interrogatories
   10    or requests for admission if they have additional questions. See Mulvey v. Chrysler
   11    Corp., 106 F.R.D. 364, 366 (D.R.I. 1985) (requiring plaintiffs to submit written
   12    interrogatories in lieu of deposing Chrysler’s Chairman).
   13                 4.    The Risk of Abuse and Harassment Is High
   14          In light of Mr. Kim’s position and his many obligations, this deposition would
   15    impose an undue hardship for no appreciable gain. Even in the cases Plaintiffs cite,
   16    courts recognize the high risk of abuse in the apex deposition context and limit the
   17    scope of depositions to particular topics and duration to no more than two hours.
   18    See Transpacific, 2014 WL 939287, at *5–6; see also Apple Inc. v. Samsung Elecs.
   19    Co., Ltd, 282 F.R.D. at 265 (limiting deposition of Samsung Electronics CEO to two
   20    hours). To be clear, Plaintiffs have not met their burden and no deposition is
   21    warranted here.
   22          C.     Conclusion
   23          The Court should preclude the deposition of Mr. Kim. StarKist and Dongwon
   24    Industries respectfully request oral argument on this dispute.
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   27    had any similar role at StarKist. 2014 WL 939287, at *4.

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    1    Dated: August 15, 2018               Respectfully submitted,
    2
    3                                         LATHAM & WATKINS LLP
    4                                         By: s/ Christopher S. Yates
                                              Alfred C. Pfeiffer
    5                                         Christopher S. Yates
                                              Belinda S Lee
    6                                         Niall E. Lynch
                                              Ashley M. Bauer
    7                                         LATHAM & WATKINS LLP
                                              505 Montgomery Street, Suite 2000
    8                                         San Francisco, CA 94111
                                              Telephone: 415-391-0600
    9                                         Facsimile: 415-395-8095
                                              Al.Pfeiffer@lw.com
   10                                         Chris.Yates@lw.com
                                              Belinda.Lee@lw.com
   11                                         Niall.Lynch@lw.com
                                              Ashley.Bauer@lw.com
   12
                                              Attorneys for Defendants StarKist Co. and
   13                                         Dongwon Industries Co., Ltd.
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         JOINT MOTION FOR DISCOVERY DETERMINATION           CASE NO. 15-MD-2670-JLS (MDD)
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Case 3:15-md-02670-DMS-MDD Document 1342 Filed 08/15/18 PageID.92535 Page 14 of 18




    1    By: s/Samantha J. Stein*                     By: s/William J. Blechman*
         Michael P. Lehmann                           Richard Alan Arnold, Esquire
    2
         Bonny E. Sweeney                             William J. Blechman, Esquire
    3    Christopher L. Lebsock                       Kevin J. Murray, Esquire
         Samantha J. Stein                            Douglas H. Patton, Esquire
    4
         HAUSFELD LLP                                 Samuel J. Randall, Esquire
    5    600 Montgomery Street, Suite 3200            Jalaine Garcia, Esquire
         San Francisco, CA 94111                      KENNY NACHWALTER, P.A.
    6
         Tel: (415) 633-1908                          1441 Brickell Avenue
    7    Fax: (415) 358-4980                          Suite 1100
         E-mail: mlehmann@hausfeld.com                Miami, Florida 33131
    8
         E-mail: bsweeney@hausfeld.com                Tel: (305) 373-1000
    9    E-mail: clebsock@hausfeld.com                Fax: (3015) 371-1861
         E-mail: sstein@hausfeld.com                  Email: rarnold@knpa.com
   10
                                                      wblechman@knpa.com
   11    Michael D. Hausfeld                          kmurray@knpa.com
   12    James J. Pizzirusso                          dpatton@knpa.com
         HAUSFELD LLP                                 srandall@knpa.com
   13    1700 K Street NW, Suite 650                  jgarcia@knpa.com
   14    Washington, DC 20006
         Telephone: (202) 540-7200                    Liaison Counsel for Direct Action
   15    Facsimile: (202) 540-7201                    Plaintiffs
   16    E-mail: mhausfeld@hausfeld.com
         E-mail: jpizzirusso@hausfeld.com
   17
   18    Interim Lead Counsel for the Direct
         Purchaser Class
   19
   20
         By: s/Blaine Finley*                         By: s/Thomas H. Burt*
   21    Jonathan W. Cuneo                            Betsy C. Manifold
   22    Joel Davidow                                 Rachele R. Rickert
         Blaine Finley                                Marisa C. Livesay
   23    CUNEO, GILBERT & LADUCA LLP                  Brittany N. Dejong
   24    4725 Wisconsin Avenue NW, Suite 200          WOLF HALDENSTEIN ADLER
         Washington, DC 20016                         FREEMAN & HERZ LLP
   25    Telephone: 202-789-3960                      750 B Street, Suite 2770
   26    jonc@cuneolaw.com                            San Diego, CA 92101
         joel@cuneolaw.com                            Telephone: 619/239-4599
   27    bfinley@cuneolaw.com                         Facsimile: 619/234-4599
   28
         JOINT MOTION FOR DISCOVERY DETERMINATION             CASE NO. 15-MD-2670-JLS (MDD)
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Case 3:15-md-02670-DMS-MDD Document 1342 Filed 08/15/18 PageID.92536 Page 15 of 18




    1                                                 manifold@whafh.com
         Peter Gil-Montllor
    2    Christian Hudson                             WOLF HALDENSTEIN ADLER
    3    CUNEO, GILBERT & LADUCA LLP                  FREEMAN & HERZ LLP
         16 Court Street, Suite 1012                  Fred Taylor Isquith
    4    Brooklyn, NY 11241                           isquith@whafh.com
    5    Telephone: 202-789-3960                      Thomas H. Burt
         pgil-montllor@cuneolaw.com                   burt@whafh.com
    6    christian@cuneolaw.com                       270 Madison Avenue
    7                                                 New York, New York 10016
         Interim Lead Counsel for the                 Telephone: 212/545-4600
    8    Commercial Food Preparer Class               Facsimile: 212/545-4653
    9
                                                      WOLF HALDENSTEIN ADLER
   10                                                 FREEMAN & HERZ LLC
   11                                                 Theodore B. Bell
                                                      tbell@qhafh.com
   12                                                 Carl Malmstrom
   13                                                 malmstrom@whafh.com
                                                      70 West Madison Street, Suite 1400
   14                                                 Telephone: 312/984-0000
   15                                                 Facsimile: 312/212-4401

   16                                                 Interim Lead Counsel for the
   17                                                 End Payer Plaintiffs

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   20                                                 * signed with permission
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         JOINT MOTION FOR DISCOVERY DETERMINATION             CASE NO. 15-MD-2670-JLS (MDD)
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    1                             SIGNATURE ATTESTATION
    2          Under Section 2.f.4 of the Court’s CM/ECF Administrative Policies, I hereby
    3    certify that authorization for filing this document has been obtained from the
    4    signatories shown above, and that all signatories have authorized placement of their
    5    electronic signature on this document.
    6                                                 By: s/Christopher S. Yates
    7                                                 Christopher S. Yates

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    1
              DECLARATION OF COMPLIANCE WITH MEET AND CONFER
    2                          REQUIREMENT
    3          Pursuant to §IV(A) and §IV(C)(4)(e) of Magistrate Judge Dembin’s Chambers
    4    Rules, counsel for Plaintiffs and StarKist Co. and Dongwon Industries Co., Ltd.
    5    participated in a telephonic meet and confer on July 19, 2018.          Counsel who
    6    participated on behalf of Plaintiffs were: Samantha J. Stein, Scott Gant, Doug Patton,
    7    Fred Isquith, and Blaine Finley. Counsel who participated on behalf of StarKist Co.
    8    and Dongwon Industries Co., Ltd. was: Christopher S. Yates.
    9
                                                      By: s/Christopher S. Yates
   10                                                 Christopher S. Yates
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    1                              CERTIFICATE OF SERVICE
               I certify that on August 15, 2018, I filed a redacted version of the foregoing
    2
         document with the Clerk of the Court for the United States District Court, Southern
    3
         District of California, by using the Court’s CM/ECF System, which sends
    4
         notifications of such filings to all counsel of record. I further certify that on August
    5
         15, 2018 I caused counsel of record to be served with a true, correct, and un-
    6
         redacted copy of the foregoing document via e-mail.
    7
    8
                                                       By: s/Christopher S. Yates
    9                                                  Christopher S. Yates
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